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 1                                UNITED STATES DISTRICT COURT
 2                                       DISTRICT OF NEVADA
 3                                                  ***
 4    DARREN CHAKER-DELNERO,                                   Case No. 2:06-cv-00008-JAD-EJY
 5                   Plaintiff,
                                                                           ORDER
 6          v.
 7    NEVADA FEDERAL CREDIT UNION, et
      al.
 8             Defendants.
 9

10          Pending before the Court is Plaintiff’s Application to File Under Seal (ECF No. 44). Plaintiff
11   seeks to file a Supplemental Objection to a Magistrate Judge’s Order under seal. However, a review
12   of the docket shows the last Magistrate Judge’s Order was issued on February 24, 2022 (ECF No.
13   40) and no objection to that Order was filed. See Docket, generally. In fact, the docket reflects no
14   outstanding objections to any orders issued in this case. Id. Thus, there is nothing to supplement
15   and any new objection would be untimely. LR IB 3-1(a). Defendant is further advised this matter
16   is closed and filings under this matter are fugitive documents.
17          Accordingly, IT IS HEREBY ORDERED that Plaintiff’s Application to File Under Seal
18   (ECF No. 44) is DENIED as moot.
19          DATED this 23rd day of March, 2023.
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21                                                ELAYNA J. YOUCHAH
                                                  UNITED STATES MAGISTRATE JUDGE
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